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EXHIBIT 1
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OPERATING AGREEMENT OF :
CONCORDE APPAREL COMPANY, L.L.C.

A DELAWARE LIMITED LIABILITY COMPANY
EFFECTIVE AS OF August 25, 1994

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of 54 pea,

WHEREAS, Straight A Company ("Straight A") is a Pennsy1vania

limited partnership having an office at One Maxson Drive, Old Forge,

Pennsylvania 18518; and

WHEREAS, LA Apparel, Inc. ("LA") is a New York corporation

having an office at 1290 Avenue of the Americas, New york, |

10104; and
WHEREAS, LA is engaged primarily in the business of ma
men’s apparel products; and

WHEREAS, the parties desire to form a limited liabilit

 

under the Delaware Limited Liability Company Act to engage |

New York,

rketing

y company

in the

business of styling and marketing a line of domestically produced and

imported men’s clothing products, including suits, sportcoats,

overcoats and raincoats and other apparel as may be mutual

to by the Members under the terms and conditions herein set

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y agreed

forth;

NOW THEREFORE, in consideration of the covenants and agreements

herein contained, the parties hereto agree as follows:

 
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ARTICLE I

Definitions

!
1.01. Definitions. The following terms used in this Operating

Agreement shall have the following meanings (unless otherwise

 

expressly provided herein):

a. “Capital Account" as of any given date chal mean
the Capital Contribution to the Company by a Member as adjusted up to
the date in question pursuant to Article VII.

b. “Capital Contribution" shall mean any
contribution to the Capital of the Company in cash or property (at an
agreed value) by a Member whenever made. "Initial Capital |
Contribution" shall mean the initial contribution to the capital of
the Company pursuant to this Operating Agreement.

Cc. "Capital Interest" shall mean the proportion that
a, Member’s positive Capital Account bears to the aggregate positive
Capital Accounts of all Members whose Capital Accounts have positive
balances as may be adjusted from time to time.

da. "Certificate of Formation" shall mean the:
filed in the Office of the Secretary of the State of Delaware

as the

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Certificate of Formation of Concorde Apparel Company, L.L.c.,| as

laware

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same may be amended from time to time.

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|
e. "Company" shall refer to Concorde Apparel

Company, L.L.C.

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f. "Deficit Capital Account" shall mean with respect
to any Member, the deficit balance, if any, in such Member’s Capital
Account as of the end of either the fiscal year or the taxable year,
after giving effect to the following adjustments: |

i. Credit to such Capital Account any amount
which such Member is obligated to restore under Treas.

Reg. 1.704-1(b) (2) (ii) (c), as well as any addition

thereto pursuant to the next to last sentence of Treas.

Reg. 1.704-2(g)(1) and (i) (5), after taking into account

thereunder any changes during such year in partnership

minimum gain (as determined in accordance with Treas.

Reg. 1.704~-2(d)) and in the minimum gain attributable to

any partner nonrecourse debt (as determined under Treas.

Reg. 1.704-2(i)3))? and

 

ii. Debit to such Capital Account the items

described in Treas. Reg. 1.704-1(b) (2) (ii) (a) |(4), (5)

and (6). |

 

iii. This definition of Deficit Capital Account

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is intended to comply with the provision of Treas. Reg.
1.704-1 (b) (2) (ii) (da) and 1.704-2, and will be
interpreted consistently with those provisions. |

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g. "Delaware Act" shall mean the Delaware thnited
Liability Company Act, 6 Del. Code 18-101, et. seq. |

h. "Distribution Cash" means all cash, revenues, and
funds received by the Company from Company operations less the sum of
the following to the extent paid or set aside by the company!

i. All principal and interest payments ion
indebtedness of the Company and all other sums paid to
lenders; |

ii. All cash expenditures incurred incident to
the normal operation of the Company’s business;

iii. Such Reserves as the Members deem reasonably
necessary to the proper operation of the Company/’s
business.

i. "Economic Interest" shall mean a Members or
Economic Interest Owner’s share of one or more of the Company’s Net
Profits, Net Losses, and distributions of the Company’s assets
pursuant to this Operating Agreement and the Delaware Act, Hut shall
not include any right to participate in the management or affairs of
the Company, including the right to vote on, consent to, or jotherwise
participate in any decision of the Members.
3. "Economic Interest Owner" shall mean the owner of

an Economic Interest who is not a Member.

 
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k. "Entity" shall mean any general partnership,
limited partnership, limited liability company, corporation, | joint
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venture, trust business trust, cooperative or association,

oer any foreign trust, or foreign business organization. sf

1. "Fiscal Year" shall mean the Company’s fiscal
year, which shall be the period ending June 30, each year. |
Notwithstanding the foregoing, for income tax purposes the Company’s
tax year will end on December 31 each year, which is hereinafter
referred to as the Company’s "taxable year" or "tax year".

m. "IRC" shall mean the Internal Revenue Code of

1986 or corresponding provisions of subsequent superseding federal

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revenue laws.

n. "Majority Interest" shall mean one or more
Membership Interests which taken together exceed 50 per cent] of the
aggregate of all Capital Contributions under section 7.01 below.

Oo. "Member" shall mean each of the parties who
executes a counterpart of this Operating Agreement as a Member and
each of the parties who may hereafter become Members. If a Person is
a Member immediately before the purchase or other acquisition by such
Person of an Economic Interest, that Person shall have all the rights
of a Member with respect to the purchased or otherwise acquired

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Membership Interest or Economic Interest, as the case may be.

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p. "Membership Interest" shall mean a Member’s
entire interest in the Company including the Member’s Economic
Interest and the right to participate in the management of the

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business and affairs of the Company, including the right to vote on,

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consent to, or otherwise participate in any decision or action of or

by the Members granted pursuant to this Operating Agreement and the

Delaware Act.

 

q- "Net Profits" and "Net Losses" shall meah the
income, gain, loss, deductions, and credits of the Company in the
aggregate or separately stated, as appropriate, determined in
accordance with generally accepted accounting principles employed
under the accrual method of accounting at the close of each fiscal

year on the Company’s financial statements.

r. "Operating Agreement" shall mean this Operating

Agreement as originally executed and as amended from time tol tine.

s. "Persons" shall mean any individual or entity,
and the heirs, executors, administrators, legal representatives,

successors, and assigns of the "Person" when the context so permits.

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t. "Reserves" shall mean, for any fiscal period,

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funds set aside or amounts allocated during such period to reserves

that shall be maintained in amounts deemed sufficient by the| Members

 

for working capital and to pay taxes, insurance, debt service, or

other costs or expenses incident to the ownership or operatibn of the

Company’s business.
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u. "Treasury Regulations" shall include proposed,
temporary, and final regulations promulgated under the IRC in effect
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as of the date of filing the Articles of Organization and the

corresponding sections of any regulations subsequently issued that

amend or supersede those regulations.

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ARTICLE II |
Formation of Company
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2.01. Formation. On or about August 25, 1994, James Alperin

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and Lee Wattenberg organized a Delaware Limited Liability Company bY

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executing and delivering Articles of Organization to the Delaware

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Secretary of State in accordance with and pursuant to the Delaware

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Act.
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2.02. Name. The name of the Company is Concorde Apparel
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Company, L.L.c.

2.03. Principal Place of Business. The principal place of
business of the Company shall be 300 Brook Street, P.O. Box 3627,

Scranton, Pennsylvania 18505-3627. The Company may locate its places

of business and registered office at any other place or places as the

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Members may from time to time deem advisable.

2.04. Registered Office and Registration Agent. The Company’s

initial registered office shall be at the office of its registered

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agent, and the name of its initial registered agent and its address

shall be The Corporation Trust Company, Corporation Trust Center,

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1209 Orange, Wilmington, Delaware. The registered office and |
registered agent may be changed fron time to time by filing the
address of the new registered office and/or the name of the new
registered agent with the Delaware Secretary of State pursuant to the
Delaware Act. |

2.05. Term. The term of the Company shall be until the Company
is dissolved in accordance with either the provisions of this
Operating Agreement or the Delaware Act, but in any event not later
than thirty (30) years after the formation date unless a longer

period is allowed by law.

ARTICLE III
Business of Company

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3.01. Permitted Businesses. The business of the Company shall
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be: |

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a. To style and market a line of domestically
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produced and imported mens clothing products, including suits,
sportcoats, overcoats and raincoats and other apparel as may be

mutually agreed to by the Members.

 
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b. To exercise all other powers necessary to or
reasonably connected with the Company’s business that may be ‘legally
exercised by limited liability companies under the Delaware Act.

Cc. To engage in all activities necessary, customary,

convenient, or incident to any of the foregoing.

 

ARTICLE IV

Names and Addresses of Members

The names and addresses of the Members are as follows:

Name Address
1
Straight A Company, One Maxson Drive
a Pennsylvania Limited Old Forge, PA 18518
Partnership
LA Apparel, Inc., 1290 Avenue of the |Americas
a New York Corporation Suite 1555

New York, NY 10104

ARTICLE V

Rights, Obligations and Duties of Managers

5.01. Management. The business and affairs of the Company

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shall be managed by its Managers. The Managers shall direct, manage,

and control the business of the Company to the best of their|ability

 

and will devote sufficient time and energy to the operation of the
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Company to cause it to operate effectively. |
5.02. Number, Tenure, Qualifications. The Company shall have
two Managers and. each of the two Members shall nominate one Manager.
Each Manager shall hold office until the next annual meeting of
Members or until a successor shall have been elected or qualified.
Managers shall be appointed by the unanimous vote of the Members.
Managers need not be residents of the State of Delaware. straight A
hereby nominates James Alperin and LA hereby nominates Lee Wattenberg
and such nominees are hereby unanimously appointed.

5.03. Certain Powers of Managers. Notwithstanding section
5.01, the Managers shall have the authority to do the following only
if they both concur:

a. Except as set forth in (i) below, to acquire
property from any Person as the Managers may determine. The fact
that a Manager or Member is directly or indirectly affiliated! or
connected with any such Person shall not prohibit the Managers from
dealing with that Person, provided such affiliation or connection has

been disclosed;

b. To borrow money for the Company from banks, other

 

lending institutions, Managers, Members, or affiliates of Managers or
‘Members, on such terms as the Managers deem appropriate, and in
connection therewith, to hypothecate, encumber, and grant security

interests in the assets of the Company to secure repayment otf the

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borrowed sums. No debt shall be contracted or liability incurred by
or on behalf of the Company except by the Managers, or to the] extent
permitted under the Delaware Act, by agents or employees of the
Company expressly authorized to contract such debt or incur such

liability by the Members; |
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c. To purchase liability and other insurance) to

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protect the Company’s property and business;

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da. To hold, own, and acquire any real and/or!
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personal properties in the name of the Company; |

e. To invest any Company funds temporarily (by way

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of example but not limitation) in time deposits, short-term |

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governmental obligations, commercial paper, or other investments;

f. With the written consent of both Members ,| to sell

or otherwise dispose of all or substantially all of the assets of the

Company as part of a single transaction or plan so long as that
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disposition is not in violation of or a cause of a default weer any
other agreement to which .the Company may be bound;

g. Upon the signature of both Managers, to execute
on behalf of the Company all instruments and documents, including,

without limitation: drafts; notes and other negotiable instruments,

mortgages, or deeds of trust; security agreements; financing |

statements; documents providing for the acquisition, mortgage or

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disposition of the Company’s property; assignments; bills of jsale;
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leases; partnership agreements; operating agreements of other) limited
liability companies; and any other instruments or documents

necessary, in the opinion of the Managers, to the business of! the

Company?

 

h. To hire executive level employees and to employ
accountants, legal counsel, managing agents, or other experts! to
perform services for the Company and to compensate them from Company
funds. This applies to any employee having an executive title with
the Company. |

i. To enter into any and all other agreements (other
than purchase orders which need only be signed by a single Manager)
on behalf of the Company, with any other Person for any purpose, in
such form as the Managers may approve. |

5.04. a. Except as provided in section 5.03 each Manager shall
have the power and authority to do and perform all other acts as may
be necessary or appropriate to the conduct of the Company’s business.

b. Unless authorized to do so by this Operating
Agreement, or by the Members or Managers of the Company, no
attorney-in-fact, employee, or other agent of the Company shall have
any power or authority to bind the Company in any way, to pledge its
credit or to render it liable pecuniarily for any purpose.

5.05. Activities and Responsibilities of Managers. The Managers

shall perform their managerial duties in good faith, in a manner they

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reasonably believe to be in the best interests of the Company. A
Manager shall not be liable to the Company, another Manager t any
Member for any loss or damage sustained by such Company, Manager or

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Member, unless the loss or damage shall have been the result of

fraud, deceit, gross negligence, willful misconduct, or a wrongful

taking by the Manager.

The Manager nominated by LA shall devote substantially aba of

his business time and attention to the management of the Company?

provided, however, that he shall be permitted to devote an immaterial

amount of time to businesses, included the business of icencing

tradenames and trademarks in the apparel industry, that do not

directly compete with the Company; and that he may have a finlancial
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interest in any entity in which he does not have a controlling

interest or engage in management activities, provided such entity

does not directly compete with the Company. |
The Manager appointed by Straight A Company is engaged in other

apparel manufacturing activities and businesses and shall continue to

be authorized to do so. The said Manager shall not incur Liability

to the Company or to any other Manager or Member as a result lof
|
engaging in any other business or venture. |
5.06. Bank Accounts. The Managers may from time to time open
bank accounts in the name of the Company, and the Managers shall,
except as herein set forth, be the sole signatories thereon, junless

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the Members, by unanimous vote, determine otherwise. The signatures
of both Managers will be required on all checks, drafts, or |
withdrawals therefrom. Notwithstanding the foregoing, a Manger can
sign checks without the other Manager’s signature for prior approved
purchase orders or other invoices or bills pre-approved by the other

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5.07. Removal. A Manager may be removed at any time by! the

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Manager.

Member who nominated him.

5.08. Indemnity of the Managers, Employees and Other A ents.
To the maximum extent permitted under Section 18-108 of the Delaware
Act, the Company shall indemnify the Managers. The Company shalt
indemnify its employees and other agents who are not Managers| to the
fullest extent permitted by law, provided that the indemnification in
any given situation is approved by the unanimous vote of the Members.

5.09 Vacancies. In the event of a vacancy occurring for! any

 

reason in the number of Managers of the Company, the Member whose
nominee has ceased to serve shall nominate a successor, whose

appointment shall be subject to the unanimous vote of the Members.

 

 

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ARTICLE VI

Rights, Obligations and Duties of Members

 

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6.01. Limitation of Liability. Each Member’s liability shall
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be limited as set forth in this Operating Agreement, the Delaware

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Act, and other applicable law.

6.02. Company Debt Liability. A Member will not be nerdonally
liable for any debts or losses of the Company beyond the Member's
respective Capital Contributions and any obligation of the Member
under section 8.01 below to make Capital Contributions, except as

provided in section 6.06 below or as otherwise required by law.

6.03. Approval of Sale of All Assets. The Members shall have

|
the right, by the unanimous vote of all Members, to approve the sale,

exchange, or other disposition of all, or substantially all, ¥£ the
Company’s assets (other than in the ordinary course of the Companys
business) which is to occur as part of a single transaction or plan.
6.04. Company Books. In accordance with section 9.10 below,

the Members shall maintain and preserve, during the term of the
Company, and for five (5) years thereafter, all accounts, books, and
other relevant Company documents. Upon reasonable request, each
Member shall have the right, during ordinary business hours, to

inspect and copy those company documents at the Company’s expense.

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6.05. Priority and Return of Capital. Except as may be
expressly provided in Article IX, no Member or Economic Interest
Owner shall have priority over any other Member or Economic Interest
Owner, either for the return of Capital Contributions or for Net
Profits, Net Losses, or distributions; provided that this section
shall not apply to loans (as distinguished from Capital |
Contributions) which a Member has made to the Company.

6.06. Liability of a Member to the Company. A Member who

receives any distribution from the Company shall be liable to jthe

 

Company for such distribution only to the extent required by Section

|
18-607 of the Delaware Act or as otherwise provided by law. |

6.07. Duties of Managers. All Managers shall be responsible
for the management of the Company: provided, however, that
a. James Alperin shall be solely responsible |for and
Straight A or, if designated by Straight A, Alperin, Inc., shall bear
all costs and expenses of shipping and administration, and shall
perform all customary and necessary services in connection therewith
and as set forth in Exhibit A hereto. It is intended that Straight A

shall delegate its responsibilities to Alperin, Inc. and/or other

 

providers of these services. However, until such time that Straight

A and LA are receiving payments of gross operating profit reflecting

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allocations thereof pursuant to section 9.03(v), James Alperin shall

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not be responsible for writing cutting tickets and piece goods
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purchase follow up.

b. Lee Wattenberg shall be solely responsible for,
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and LA shall bear all costs and expenses of, the sales and marketing
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and shall perform all customary and necessary services in connection
therewith and as set forth on Exhibit A attached hereto. In
addition, until such time that Straight A and LA are receiving
payments of gross operating profit reflecting allocations thereof

pursuant to section 9.03(v), he shall be specifically responsible for

writing cutting tickets and piece goods purchase follow up.

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c. The Members jointly shall be responsible for
decision-making regarding purchases and corporate administration

matters and necessary services in connection therewith as set|forth

on Exhibit A attached hereto.

 

a. Neither Straight A nor-LA shall receive any

payment or reimbursement for the foregoing services except as
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provided in section 9.03.

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e. In no event will either of the named individual

Managers have any personal liability for the expenses to be borne by

their related Member.

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ARTICLE VII

Meetings of Members

7.01. Annual Meeting. The annual meeting of the Members shall
be held on the first business day in the month of April or at !such
other time as shall be determined by resolution of the Members.

7.02. Special Meetings. Special meetings of the Members, for
any purpose or purposes, unless otherwise prescribed by statute, may
be called by any Member, upon ten (10) days notice to all Members.

7.03. Place of Meetings. The Members may designate any ‘place,
either within or without the State of Delaware as the place of
meeting for any meeting of the Members which is mutually convenient.
If an agreement cannot be reached, or if a special meeting be
otherwise called, the place of meeting shall alternate between New
York City, New York and Scranton, Pennsylvania.

7.04. Notice of Meetings. Except as provided in section 7.05

below, written notice stating the place, day, and hour of the |meeting

 

and the purpose or purposes for which the meeting is called shall be

delivered no fewer than ten (10) days before the date of the meeting,
either personally or by certified mail, by or at the direction of the
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Members or person calling the meeting, to each Member entitled to
vote at the meeting. If mailed, the notice shall be deemed to be

delivered two calendar days after being deposited in the United

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States mail, addressed to the Member at the Member’s address as it
appears on the books of the Company, with postage thereon prepaid.

7.05. Meeting of All Members. If all of the Members shall meet
at any time and place, either within or outside of the state of
Delaware, and consent to the holding of a meeting at the time and
place, the meeting shall be valid without call or notice, and at the
meeting lawful action may be taken. !

7.06. Record Date. For the purpose of determining Members
entitled to notice of or to vote at any meeting of Members, or
Members entitled to receive payment of any distribution, or te make a
determination of Members for any other purpose, the date on which
notice of the meeting. is mailed or the date on which the resqlution

declaring the distribution is adopted, as the case may be, shall be

the record date for the determination of Members.

7.07. Voting. Each Member’s vote shall be proportionate to its
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Capital Interest as reflected at the end of the previous fiscal year.

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7.08. Attendance. All Members, represented in person or by

proxy, must be present at any meeting of Members.
7.09. Manner of Acting. The majority vote of all Members shall
be the act of the Members, unless the vote of a lesser proportion or
number is otherwise required by this Operating Agreement or upon
resolution of the Members. Unless otherwise expressly provided in

this Operating Agreement or required under applicable law, Members

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who have an interest (economic or otherwise) in the outcome of any
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particular matter upon which the Members vote or consent may/ vote or
consent upon any such matter and their vote, as the case may/be,

shall be counted in the determination of whether the requisite matter

was approved by the Members.

7.10. Proxies. At all meetings of Members, a Member may vote
in person or by proxy executed in writing by the Member or by a duly
authorized attorney-in-fact. The proxy shall be filed with the other
Members of the Company before or at the time of the meeting. No

proxy shall be valid after 11 months from the date of its execution,

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unless otherwise provided in the proxy. |

7.11. Action by Members Without a Meeting. Action required or
permitted to be taken at a meeting of Members may be taken without a
meeting if the action is evidenced by one or more written cohsents
describing the action taken, signed by all Members and included in
the minutes or filed with the Company records. |

7.12. Waiver of Notice. When any notice is required to be
given to any Member, a waiver of the notice in writing signed by the
person entitled to the notice, whether before, at or after the time

stated therein, shall be equivalent to the giving of the notice.

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ARTICLE VIII

Contributions to the Company

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and Capital Accounts

8.01. Members’ Capital Contributions. Each Member shall
contribute as its Initial Capital Contribution $175,000 in cash and
shall advance $200,000 to be evidenced by demand obligations to the
Company (requiring a minimum of 13 months notice prior to repayment
and requiring repayment pari passu with all such obligations) and
shall execute general subordination agreements in favor of all
creditors of the Company and shall collateralize the lending
agreement with the Company’s factor or other lending “eee with

$125,000 of cash or marketable securities which will at all times

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equal or exceed $125,000 in market value. Upon making theix
respective Initial Capital Contributions, each Member’s share of

Capital Interest shall be as follows:
Straight A Company 50% |
LA Apparel, Inc. 50%

8.02. Capital Accounts. A separate Capital Account shall be

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maintained for each Member.
a. Each Member’s Capital Account will be increased
by:

i. The amount of money contributed by

 

the Member to the Company including amounts repaid by LA

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under section 9.04(b);

ii. The fair market value of property
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contributed by the Member to the Company (net of
liabilities secured by such contributed property that the
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Company is considered to assume or take subject ito under

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IRC 752);

iii. Allocations to the Member of gross

profit under section 9.03 and Net Profits and Net Losses;
and |

iv. Allocations to the Member of income

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described in IRC 705(a) (1) (B). |

b. Each Member’s Capital Account will be decreased

by: |

i. The amount of money distributed to the
Member by the Company under section 9.04; | |

ii. The fair market value of property
distributed to the Member by the Company (net of
liabilities secured by such distributed property that
such Member is considered to assume or take subject to
under IRC 752); |

iii. Allocations to the Member of

expenditures described in IRC 705(a) (2) (B); and

 

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iv. Allocations to the account of the
Member of Net Losses as set forth in the relevant
Treasury Regulations, taking into account adjusthents to
reflect book value; and

v. Any judgments against the Company as a
result of an individual obligation assessed against only

one of the members.

c. In the event of a permitted sale or exchange of a
Membership Interest or Economic Interest in the company, the

.
Capital Account of the transferor shall become the Capital

Account of the transferee to the extent it relates to the
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transferred Membership Interest or Economic Interest inl
accordance with Treas. Reg. 1.704-1(b) (2) (iv). |

da. The manner in which Capital Accounts are to be
maintained pursuant to this section 8.02 is intended to comply
with the requirements of IRC 704(b) and the Treasury Regulations
promulgated thereunder. If in the opinion of the Company ’s
accountants the manner in which Capital Accounts are to be
maintained pursuant to the preceding provisions of hid section
8.02 should be modified to comply with IRC 704(b) and the
Treasury Regulations thereunder, then notwithstanding anything —
to the contrary contained in the preceding provisions of this

section 8.02, the method in which Capital Accounts are

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maintained shall be so modified: provided, however, son any
change in the manner of maintaining Capital Accounts shall not
materially alter the economic agreement between or among the
Members. |

e. Upon liquidation of the Company (or any Member's
Membership Interest or Economic Interest Owner’s Economic
Interest), liquidating distributions will be made in accordance
with the positive Capital Account balances of the Members and

Economic Interest Owners, as determined after taking into

account all Capital Account adjustments for the Company's

 

taxable year during which the liquidation occurs. Liquidation
proceeds will be paid within 60 days of the end of the taxable
year (or, if later, within 120 days after the date of the
liquidation). The Company may offset damages for breach of this
Operating Agreement by a Member or Economic Interest Owner whose
interest is liquidated (either upon the withdrawal of the Member
or the liquidation of the Company) against the amount otherwise

distributable to the Member.

f. Except as otherwise required in the Delaware Act,
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no Member shall have any liability to restore all or any portion

of a deficit balance in the Member’s Capital Account.

8.03. Withdrawal or Reduction of Members’ Contributions to
Capital. A Member shall not receive out of the Company’s property

 

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any part of its Capital Contribution until all liabilities of the
Company, except liabilities to Members on account of their Capital
Contributions, have been paid or there remains property of the
Company sufficient to pay them. A Member, irrespective of the nature
of its Capital Contribution, has only the right to demand and receive
cash in return for its Capital Contribution. |

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ARTICLE IX i

Allocations, Income Tax, Distributions,
Elections, and Reports

9.01. Allocations of Losses from Operations. The Net Losses of

the Company for each fiscal year will be allocated proportionate to
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the Capital Interests. |
9.02. Special Allocations to Capital Accounts. No allocations

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of loss, deduction, and/or expenditures described in IRC 705\(a) (2)

(B) shall be charged to the Capital Accounts of any Member * such
allocation would cause such Member to have a Deficit capitay
Account. The amount of the loss, deduction, and/or IRC 705 (a) (2)
(B) expenditure which would have caused a Member to have a Deficit
Capital Account shall instead be charged to the Capital Account of
any Members which would not have a-Deficit Capital Account als a
result of the allocation, in proportion to their respective capital
Contributions, or, if no such Members exist, then to the Members in
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accordance with their interests in Company profits pursuant to
Section 9.01 above.

a. If any Member unexpectedly receives any
adjustments, allocations, or distributions described in Treas. Reg.
1.704-1(b) (2) (ii) (d) (4), (5), or (6), which create or increase a
Deficit Capital Account of the Member, then items of income and gain

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(consisting of a pro rata portion of each item of company income,

including gross income, and gain for such year and, if necessary, for
subsequent years) shall be specially credited to the capital |Account
of the Member in an amount and manner sufficient to eliminate, to the
extent required by the Treasury Regulations, the Deficit capital
Account so created as quickly as possible. It is the intent | that
this Section 9.02(b) be interpreted to comply with the alternate test
for economics effect set forth in Treas. Reg. 1-704-1(b) (2) | (44)
(a). !

b. If any Member would have a Deficit Capital
Account at the end of any Company taxable year which is in excess of
the sum of any amount that the Member is obligated to restoré to the
Company under Treas. Reg. 1.704-1(b) (2) (ii) (e) and the Member’s
share of minimum gain as defined in Treas. Reg. 1.704-2(g)(1) (which
is also treated as an obligation to restore in accordance with Treas.

Reg. 1.704-1(b) (2) (ii) (dad), the Capital Account of the Member! shall be

specially credited with items of Membership income (including gross

 

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income) and gain in the amount of the excess as quickly as possible.
Cc. Notwithstanding any other provision of
this Section 9.02, if there is a net decrease in the company’s
minimum gain as defined in Treas. Reg. 1.704(d) during a taxable year
of the Company, the Capital Accounts of each Member shall be
allocated items of income (including gross income) and gain for such
year (and if necessary for subsequent years) equal to the Member’s
share of the net decrease in company minimum gain. This section
9.02(d) is intended to comply with the minimum gain chargeback
requirement of Treas. Reg. 1.704-2 and shall be interpreted !
consistently therewith, In any taxable year that the Company has a
net decrease in the Company’s minimum gain, if the minimum gain
chargeback requirement would cause a distortion in the economic
arrangement among the Members and it is not expected that the Company
will have sufficient other income to correct that distortion, the
Managers may in their discretion (and shall, if requested to /do so by
a Member) seek to have the IRS waive the minimum gain chargeback
requirement in accordance with Treas. Reg. 1.704-2(f) (4).

da. Items of Company loss, deduction, ‘and

expenditures described in IRC 705(a) (2) (B) which are attributable

 

to any nonrecourse debt of the Company and are characterized |as

partner (Member) nonrecourse deductions under Treas. Reg. 1.704-2(i)

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shall be allocated to the Members’ Capital Accounts in accordance
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e. Beginning in the first taxable year in

with Treas. Reg. 1.704-2(j).

which there are allocations of "nonrecourse deductions" (as described
in Treas. Reg. 1.704-2(b)) those deductions shall be allocatea to the
Members in accordance with, and as a part of, the allocations of
Company profit or loss for that period.

f. In accordance with IRC 704 (c) (1) (A) and
Treas. Reg. 1.704-1(b) (2) (i)-(iv), if a member contributes proverty
with a fair market value that differs from its adjusted basis, at the
time of contribution, income, gain, loss, and deductions for the
property shall, solely for federal income tax purposes, be allocated
among the Members so as to take account of any variation between the
adjusted basis of the property to the Company and its fair market
value at the time of contribution. .

g. Pursuant to IRC 704(c)(1)(B), if any
contributed property is distributed by the Company other than to the
contributing Member within five years of being contributed, then,
except as provided in IRC 704(c) (2), the contributing Member shall
be treated as recognizing gain or loss from the sale of the property
in an amount equal to the gain or loss that would have been suocated

to the Member under IRC 704(c) (1) (A) if the property had been sold at

its fair market value at the time of the distribution. |

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h. In the case of any distribution by

Company to a Member or Economic Interest Owner, the Member ox
Economic Interest Owner shall be treated as recognizing gain ‘in an
amount equal to the lesser of:
i. The excess (if any) of the fair market
value of the property (other than money) received in the

distribution over the adjusted basis of the Member’s

Membership Interest or. Economic Interest Owner’s !Economic

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distribution reduced (but not below zero) by the jamount

Interest in the company immediately before the

of money received in the distribution; or |

ii. The Net Precontribution gain | (as
defined in IRC 737(b)) of the Member or Economic |Interest
Owner. The Net Precontribution Gain means the net gain
(if any) which would have been recognized by the|
distributee Member or Economic Interest Owner under IRC
704(c)(1)(B) if all property which had been contributed
to the Company by the distributee Member or Economic
Interest Owner within five years of the distribution, and
is held by the Company immediately before the |
distribution, had been distributed by the company to
another Member or Economic Interest Owner. If all

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property which had been contributed to the Company by a

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distributee Member or Economic Interest Owner within five
years of the distribution and is held by the Company
immediately before the distribution, had been distributed
to such distributee Member or Economic Interest Gwner,
then the property shall not be taken into account under
this Section 9.02(h) and shall not be taken into account
in determining the amount of the Net Precontribution
Gain. If the property distributed consists of an
interest in an entity, the preceding sentence shall not
apply to the extent that the value of the interest is
attributable to the property contributed to the entity
after such interest had been contributed to the Company.
i. In connection with a Capital contribution
of money or other property (other than a de minimis amount) by a new
or existing member or Economic Interest Owner as consideration for an
Economic Interest or Membership Interest, or in connection with the
liquidation of the Company or a distribution of money or other

property (other than a de minimis amount) by the Company to a
retiring member or Economic Interest Owner as consideration for an
economic interest or Membership Interest, the Capital Accounts of the
“members shall be adjusted to reflect a revaluation of company

property (including intangible assets) in accordance with Treas. Reg.

1.704-1(b) (2) (iv) (£). If under Treas. Reg. 1.704-1(b) (2) (iv)

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(£), Company property that has been revalued is properly reflected in
the Capital Accounts and on the books cf the Company at a back value
that differs from the adjusted tax basis of the property, then
depreciation, depletion, amortization and gain or loss with respect
to such property shall be shared among the Members in a manner that
takes into account the variation between the adjusted tax basis of
such property and its book value. In the same manner as variations

between the adjusted tax basis and the fair market value of property

contributed to the Company are taken into account in determining the
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Members’ shares of tax items under IRC 704(c).
j. All recapture of income tax deductions
resulting from sale or disposition of Company property shall ibe
allocated to the Member or Members to whom the deduction that gave
rise to the recapture was allocated hereunder to the extent that the

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Member is allocated any gain from the sale or other disposition of

the property. |

k. Any credit or charge to the capital
Accounts of the Members pursuant to Sections 9.02(b), (c), and/or
(ad), shall be taken into account in computing subsequent allocations
of profits and losses pursuant to Section 9.01 above, so that the net
‘amount of any items charged or credited to Capital Accounts hursuant
to Sections 9.01 and 9.02 shall to the extent possible, be equal to

the net amount that would have been allocated to the Capital; Account

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of each member pursuant to the provisions of this Article Ix if the

special allocations required by Sections 9.02(b), (c), and/or! (da),
had not occurred.

9.03. Profits. The gross operating profit of the Company shall
be determined for each fiscal year. The gross operating profit shall
equal the gross revenues of the Company, minus all costs and expenses
normally taken into account in determining net income, other than the
costs and expenses borne by Straight A and LA pursuant to sections
6.07(a) and (b).

The gross operating profit shall be allocated in the following
order of priority:

(i) first, five percent of net sales as a
reserve for profits, to the Members in accordance with their
respective Shares of Total Capital;

(ii) second, to Straight A, in respect of the

services provided pursuant to section 6.07(a), an amount equal to 6%

 

of net sales; |

(iii) third, to LA, in respect of the services

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provided pursuant to section 6.07(b), $546,000; |
(iv) fourth, to Straight A, in respect of the

services provided pursuant to section 6.07(a), an amount equal to 2%

of net sales;

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(Vv) fifth, any remaining gross profit) shall be

allocate! 10% to Straight A and %0% to LA.
5.04. Distributions. (a) The Company shall pay on a current
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waekly) basis the following amounts to the Members:

(ij ta Straight A, an amount equal to 6% of net sales; (payable

 

in cash as net sales are accrued under generally accepted accounting
principles); and

(ii) to LA, $10,000 per week (effective as of July 1, 1995),
payable by wire transfer of immediately available funds on the first

business day of each week, in advance,

(b) Within 90 days after the end of
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each fiscal year of the Company, the Members shall endeavor ito agree
on the financial statements of the Company for such year. re they
are unable to agree within such time period, they shall invoke the
arbitration provisions of section 13.15, below. Promptly after the
fi: - .4l statements have been agreed to, or promptly after ‘the
wihiiiaut.<.: shall have rendered his decision, the Company shall

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distribure to each Member the undistributed ameunts of gross profit
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Tor The preceding year allocated in accordance with the allocation

priorities set forth in section 9.03. In the event that the Company

shall have distributed to LA during the preceding fiscal year
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pursuant to section 9.04(a)(ii} an amount in excess of the amount ta

which it was allocated under section 9.03 (1) and Cathe LA shall

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repay such excess, without interest, to the Company within thirty

(30) days after the financial statements have been agreed.

9.05. Limitation Upon Distributions. No distribution shall be

declared and paid unless, after distribution is made, the assets of

 

the Company are in excess of all liabilities of the Company.

9.06. Accounting Principles. The profits and losses of the
Company shall be determined in accordance with accounting principles
applied on a consistent basis using the accrual method of |
accounting. It is intended that the Company will elect those

accounting methods that provide the Company with the greatest tax

benefits.
9.07. Interest on and Return of Capital Contributions. | No
Member shall be entitled to interest on its Capital Contribution or
to return of its Capital Contribution, except as otherwise
specifically provided for in this Operating Agreement.
9.08. Loans to Company. Nothing in this Operating Agreement
shall prevent any Member from making secured or unsecured Loans to

the Company by agreement with the Company.

9.09. Accounting Period. The Company’s accounting period shall

be the fiscal year ending June 30.
9.10. Records. Audits, and Reports. At the expense of |the
Company, the Members shall maintain records and accounts of all

operations and expenditures of the Company. At a minimum the Company

 

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shall keep at its principal place of business the following records:
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a. A current list of the full name and last known

business, residence, or mailing address of each Member, Manager and

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b. A copy of the Articles of Organization of the
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Company and all amendments thereto, together with executed copies of

Economic Interest Owner, both past and present:

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any powers of attorney pursuant to which any amendment has been

executed.

c. Copies of the Company’s federal, state, ahd local

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income tax returns and reports, if any, for the four most recent
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years; |

d. Copies of the Company’s currently effective
written Operating Agreement, copies of any writings permitted, or
required with respect to a Member’s obligation to contribute cash,

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property, or services, and copies of any financial statements of the
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f. Any written consents obtained from Mewberp for

Company for the three most. recent years;

e. ‘Minutes of every special meeting;

actions taken by Members without a meeting.
9.11. Returns and Other Elections. The Members shall cause the

 

preparation and timely filing of all tax returns required to be filed
by the Company pursuant to the IRC and all other tax returns deemed

necessary and required in each jurisdiction in which the Company does

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business. Copies of those returns, or pertinent information from the
returns, shall be furnished to all the Members within a reasonable
time after the end of the Company’s taxable year. All elections
permitted to be made by the Company under federal or state laws shall
be made by the Members.

For tax purposes, each Member and Economic Interest owner (as
defined in Section 10.03 below) which is a nonresident of Delaware
shall execute and deliver to the Manager a Delaware Limited Liability
Company Nonresident Member Income Tax Agreement (the "Nonresident Tax
Agreement") no later than 60 days after becoming a Member or Economic
Interest Owner, as the case may be. The Manager shall timely! file
with the Delaware Department of Revenue, together with the Company’s

annual Delaware return, a Nonresident Tax Agreement for each

Nonresident Member and Economic Interest Owner.

ARTICLE X

Transferability

 

10.01. General. Except as otherwise specifically provided in

this Operating Agreement neither a Member nor an Economic Interest

Owner shall have the right to:

a. Sell, assign, pledge, hypothecate, transfer,
exchange or otherwise transfer for consideration, (collectively,
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“sell") all or any part of its Membership Interest or Economic
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b. Gift, bequeath or otherwise transfer for no

Interest;

consideration (whether or not by operation of law, except in the case
of bankruptcy) all or part of its Membership Interest or Bconomic
Interest. :

10.02. MTransfere embe s e of Unanimous Consent.
Notwithstanding anything contained in this Operating Agreement to the
contrary, if all of the remaining Members do not approve by unanimous
written consent of the proposed sale, gift or assignment (voluntary
or involuntary) of a Member’s Membership Interest or Economic |
Interest to a transferee, donee, assignee or creditor of the Member
which is not a Member immediately before the sale or gift the |
proposed transferee or donee shall have no right to participate in
the management of the business and affairs of the Company or to
become a Member. The transferee or donee shall be merely an Economic
Interest Owner. No transfer of a Member’s interest in the company
(including any transfer of the Economic Interest or any other |
transfer that has not been approved by unanimous written consent of
the Members) shall be effective unless and until written notice
(including the name and address of the proposed transferee or| donee

and the date of such transfer) has been provided to the Company and

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the non-transferring Member(s). |

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ARTICLE XI
Additional Members

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11.01. Admission to Membership. From the date of the formation
of the Company, any Person or Entity acceptable to the Members by

their unanimous vote may become a Member in this Company either by

the issuance by the Company of Membership Interests for such

consideration as the Members by their unanimous votes shall
determine, or as a transferee of a Member’s Membership interest or
any portion thereof, subject to the terms and conditions of this
Operating Agreement. |

11.02 Financial Adjustments. No new Members shall be entitled
to any retroactive allocation of losses, income, or expense |
deductions incurred by the Company. The Members may, at theif
option, at the time a New Member is admitted, close the Company books
(as though the Company’s tax year had ended) or make- pro rata
allocations of loss, income, and expense deductions to a new Member
for that portion of the Company’s tax year in which a Member was

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admitted in accordance with the provisions of IRC 706(d) and jthe

Treasury Regulations promulgated thereunder.

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ARTICLE XII

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Dissolution and Termination
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12.01 Dissolution. |
a. The Company shall be dissolved upon the
occurrence of any of the following events:
i. When the period fixed for the duration of the
Company shall expire pursuant to section 2.05 hereof;
ii. By the unanimous written agreement of jall
Members; or |
iii. Upon the withdrawal, retirement, resignation,
expulsion, bankruptcy, or dissolution of a Member ("Withdrawing
Member") or occurrence of any other event which terminates thd
continued membership of a Member in the Company (a "withdrawal
Event"), unless the business of the Company is continued by the
consent of all the remaining Members within 30 days after the |
Withdrawal Event and the remaining Members offer to purchase the
Membership Interest from the Withdrawing Member at a price eqhal to
the Withdrawing Member’s Capital Account plus repayment of any

outstanding subordinated and/or demand loans due to the "Withdrawing

Member".

b. As soon as possible following the occurrence of

any of the events specified in this section 12.01 effecting the

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dissolution of the Company, and in the event the Company is not

 

continued by the remaining Members as provided therein, the |
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appropriate representative of the Company shall execute a Certificate
of Cancellation to dissolve in such form as shall be prescribed by
the Delaware Secretary of State and file same with the Delaware
Secretary of State’s office.
c. If a Member who is an individual dies or a court
of competent jurisdiction adjudges him to be incompetent to manage
the Member’s person or property, the Member’s executor,
administrator, guardian, conservator, or other legal representative

may exercise all of the Member’s rights for the purpose of settling

 

the Member’s estate or administering his property.
d. Withdrawal of a Member shall be accomplished by
written notice delivered to the Company and the other non-Withdrawing
Member stating that the Member giving such notice withdraws from the
Company, effective as of the day that the non-Withdrawing Member
shall give notice of its election to continue the business of/the

Company or, if the other Member does not so elect within the 30 day

period beginning on the day of the notice of withdrawal, upon! the

 

winding up of the Company. From and after the date of such notice
until the non-Withdrawing Member shall give notice to the Withdrawing
Member, as required by Section 12.01(a)(iii), that it elects to

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continue the business of the Company, the Withdrawing Member shall

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remain a member of the Company and participate in its management and
its winding up.

e. If the non-Withdrawing Member shall elect to
continue the business of the Company, and becomes obligated to offer
to purchase the Membership Interest of the Withdrawing Partner as
provided in paragraph (a), the non-Withdrawing Member shall be deemed
to have made such offer on the date that it elects so to continue the
business. The Withdrawing Member may accept such offer at any time
within 60 days after the date of such offer. The closing of the
purchase and sale (and repayment of loans and collateral) shall occur
at the offices of the Withdrawing Member not more than 10 aayd after
the Withdrawing Member shall have given notice of its acceptance of
such offer. The purchase price and all other amounts due shall be
paid in immediately available funds. In the event that the Members
cannot agree on the amount of the purchase price, the undisputed
portion of the purchase price shall be paid and the disputed portion
shall be paid into an escrow account under the control of counsel to
the Members, and the dispute shall be resolved by Arbitration| by an
accounting firm mutually agreed to by the Members or, if they; cannot
agree, by an accounting firm selected by the President of the
American Institute of Certified Public Accountants. The fees| of the

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arbitrator shall be shared equally by the parties, or otherwise as

the arbitrator may determine.

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12.02. Death of a Manager. The Company shall maintain qife
insurance in an amount estimated to be sufficient to fund a buy-out
of a Members’ share or interest in the Company on the lives of its
Managers at the expense of the Company and naming the company.
beneficiary thereunder. Upon the death of a Manager ("Deceased
Manager") the Member with whom the Deceased Manager wad affiliated
shall offer to sell its Membership Interest to the non-affiliated
Member(s) at the Capital Account plus repayment of any outstanding
subordinated and/or demand loans as of the date preceding the
Manager’s death. If the non-affiliated Member fails to accept such
offer by written notice within thirty (30) days after the date of

death, the Company shall dissolve.

12.03. Winding Up. Liquidation. and Distribution of asskts.
Upon dissolution, an accounting shall be made by the Company’s
independent accountants of the accounts of the Company and of) the
Company’s assets, liabilities, and operations, from the date of the
last previous accounting until the date of dissolution. The Members
shall immediately proceed to wind up the affairs of the Company. If

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the Company is dissolved and its affairs are to be wound up, the

 

Members shall:

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a. Sell or otherwise liquidate all of the Company’s

assets as promptly as practicable (except to the extent the Members

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may determine to distribute any assets to the Members in kind) ;

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b. Allocate any profit or loss resulting fro

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such sales to the Members’ and Economic Interest Owners’ Capital
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Accounts in accordance with Article IX above;
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c. Discharge all liabilities of the Company, }
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including liabilities to Members and Economic Interest Owners) who are

creditors, to the extent otherwise permitted by law, other than

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distributions, and establish such Reserves as may be reasonably

liabilities to Members and Economic Interest Owners for

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necessary to provide for contingencies or liabilities of the Company
(for purposes of determining the Capital accounts of the Members and

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Economic Interest Owners, the amounts of such Reserves shall be
deemed to be an expense of the Company) ? |

d. Distribute the remaining assets in the following
order: :

i. If any assets of the Company are to be distributed in

kind, the net fair market value of those assets as of the date

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of dissolution shall be determined by independent appraisal or
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by agreement of the Members. Those assets shall be deeried to

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have been sold as of the date of dissolution for their fair
market value, and the Capital Accounts of the Members and

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Economic Interest Owners shall be adjusted pursuant to the
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provisions of Article IX of this Operating Agreement to lreflect

such deemed sale. LA will be assigned the rights to all orders

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for which the Company has not purchased raw materials or| does
not plan to ship (for no monetary consideration). LA will
purchase from the Company any raw materials or supplies that
will be used for any of these orders at Company’s cost. | The
Company’s rights under the Adolfo license will, as expeditiously

as possible, be reassigned to LA. }

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ii. The positive balance (if any) of each Member's and
Economic Interest Owner’s Capital Account (as determined after
taking into account all Capital Account adjustments for the
Company’s taxable year during which the liquidation occurs)
shall be distributed to the Members, either in cash or in kind,
as determined by the Members, with any assets distributed in
kind being valued for this purpose at their fair market value as
determined pursuant to section 11.03(b)(i). Any such |
distributions to the Members in respect of their capital
Accounts shall be made in accordance with the time requirements

set forth in Treas. Reg. 1.704-1(b) (2) (11) (b) (2). |

e, Notwithstanding anything to the contrary jin this

. ; .
Operating Agreement upon a liquidation within the meaning of |Treas.

Reg. 1.704-1(b) (2) (ii) (g), if any Member has a Deficit capital

Account (after giving effect to all contributions, distributors,

allocations, and other Capital Account adjustments for all taxable

years, including the year during which such liquidation occurs), the

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Member shall have no obligation to make any Capital contribution, and
the negative balance of the Member’s Capital Account shall not be

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considered a debt owed by the Member to the Company or to any other

Person for any purpose whatsoever.

£. Upon completion of the winding up, liquidation,
and distribution of the assets, the Company shall be deemed |
terminated.

g. The Members shall comply with any applicable
requirements of applicable law pertaining to the winding up of the
affairs of the Company and the final distribution of its assets.
Specifically, this Operating Agreement incorporates the distribution
provisions of Section 18.804 of the Delaware Act. Notwithstanding
any provision of this Agreement, it is intended that the terms shall
comply with the provisions of paragraph 704(b)(2) of the Internal
Revenue Code necessary to recognize the membership interests as set

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forth in section 8.01 of this Agreement.
12.04, Certificate of Cancellation. A Certificate of |
Cancellation shall be filed in the office of the Delaware Secretary
of State to accomplish the cancellation of the Articles of
Organization upon the dissolution and the completion of winding up
the Company. Upon dissolution of the Company and until the filing of
the Certificate of Cancellation, the persons winding up the Company

may, in the name of, and for and on behalf of, the Company, prosecute

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and defend suits, whether civil, criminal or administrative, |
gradually settle and close the Company’s business, dispose of and
convey the Company’s property, discharge or make reasonable provision
for the Company’s liabilities and distribute to the Members any
remaining assets of the Company, all without affecting the liability
of Members and Managers and without imposing liability ona |

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liquidating trustee.

12.05. Return of Contribution/Nonrecourse to Other Menbers.
Except as provided by law or as expressly provided in this Operating
Agreement, upon dissolution each Member shall look solely to the
assets of the Company for the return of its Capital Contribution. If
the Company property remaining after the payment or discharge of the
debts and liabilities of the Company is insufficient to return the
cash contribution of one or more Members, the remaining assets shall
be distributed pursuant to section 8.02(e) hereof, and the Members

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shall have no recourse against any other Member.

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12.06. Disposition of Adolfo License. Notwithstanding anything

in this Agreement to the contrary, including, without Limitation,
Sections 12.01(a) (iii), 12.03(a) and 12.03(d), upon the withdrawal,
retirement, resignation, expulsion, bankruptcy or dissolution |of LA,
or upon the death of the Manager affiliated with LA, the Company
shall assign to LA or its successors and assigns all of the Company ’s
right, title and interest in, to and under any license or Licenses

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for the ADOLFO trademark. For all purposes of this Agreement| the
fair market value of all such right, title and interest of the
Company shall be zero, it being the intention of the Members that in
the event that the business of the Company shall be continued by
Straight A after the withdrawal of LA, the ADOLFO license shall

revert to LA and the price to be paid to LA in respect of its |

Membership Interest shall not be reduced by any amount to reflect
such reversion. Notwithstanding the preceding provisions of this
Section 12.06, in the event the ADOLFO license is required to lbe
assigned to LA, the Company shall be granted a license (on the same
terms as the then existing license) by LA for a reasonable period of
time to sell off items in inventory or for which the Company has

committed for raw materials.

ARTICLE XIII

Miscellaneous Provisions

13.01. Notices. Any notice, demand, or communication required
or permitted to be given by any provision of this Operating agreement
shall be deemed to have been sufficiently given or served for all
purposes if delivered personally to the party or to an executive
officer of the party to whom the same is directed or, if sent} by

registered or certified mail, postage and charges prepaid, addressed

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to the Member’s and/or Company’s address, as appropriate, which is
set forth in this Operating Agreement Except as otherwise provided in
this Operating Agreement, any such notice shall be deemed to be given
three business days after the date on which the same was deposited in
a regularly maintained receptacle for the deposit of United States
mail, addressed and sent as aforesaid.

13.02. Books of Accounts and Records. Proper and complete
records and books of account shall be kept or shall be caused |to be
kept by the Members in which shall be entered fully and accurately
all transactions and other matters relating to the Company’s business
in the detail and completeness customary and usual for businesses of
the type engaged in by the Company. The books and records shall be
maintained as provided in section 8.10 above. The books and records
shall at all times be maintained at the principal executive office of
the Company and shall be open to the reasonable inspection and
examination of the Members, Economic Interest Owners, or their duly
authorized representatives during reasonable business hours. |

13.03. Applicability of Delaware Law. This Operating |
Agreement, and the application of interpretation hereof, shall be
governed exclusively by its terms and by the laws of the State of
Delaware, and specifically the Delaware Act.

13.04. Waiver of Action for Partition. Each Member and

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Economic Interest Owner irrevocably waives during the term of the

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Company any right that it may have to maintain any action for.
partition with respect to the property of the Company, provided,
however, that any Member may at any time, in its sole and absolute
discretion, without liability to the Company or any other Member,
withdraw from the Company, whereupon the provisions of Article XII
shall become applicable. |

13.05. Amendments. This Operating Agreement may not be amended
except by the unanimous written agreement of all of the Members.

13.06. Execution of Additional Instruments. Each Member hereby
agrees to execute such other and further statements of interest and
holdings, designations, powers of attorney, and other instruments
necessary to comply with any laws, rules, or regulations.

13.07. Construction. Whenever the singular number is used in
this Operating Agreement and when required by the context, the same
shall include the plural and vice versa, and the masculine gender
shall include the feminine and neuter genders and vice versa.

13.08. Heads. The headings in this Operating Agreement are for

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convenience and are in no way intended to describe, interpret,

define, or limit the scope, extent, or intent of this Operating

Agreement or any of its provisions. |
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13.09. Waivers. The failure of any party to seek redress for
violation of or to upon the strict performance of any covenant or

condition of this Operating Agreement not prevent a subsequent act,

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that would have originally constituted a violation, from having the
effect of an original violation.

13.10. Rights and Remedies Cumulative. The rights and venedies
provided by this Operating Agreement are cumulative and the use of
any one right’ or remedy by any party shall not preclude or waive the
right to use any or all other remedies. Said rights and remedies are
given in addition to any other rights the parties may have by law,
statute, ordinance, or otherwise. ;

13.11. Severability. If any provision of this operating
Agreement or its application to any person or circumstance shall be
invalid, illegal, or unenforceable to any extent, the remainder of
this Operating Agreement and its application shall not he affected
and shall be enforceable to the fullest extent permitted by law.

13.12. Heirs, Successors, and Assigns. Each and all of ‘the
covenants, terms, provisions, and agreements contained in this
Operating Agreement shall be binding upon and inure to the benefit of
the parties hereto and, to the extent permitted by this operating
Agreement, their respective heirs, legal representatives, successors,

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and assigns.

13.13. Creditors. None of the provisions of this Operating

Agreement shall be for the benefit of or enforceable by any creditors

of the Company. |

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13.14. Counterparts. This Operating Agreement may be executed
in counterparts, each of which shall be deemed an original but all of
which shall constitute one and the same instrument.

13.15. Arbitration. Without limiting the ability of a Member
to give a notice of withdrawal at any time, the Members agree to
submit to binding arbitration in accordance with this Section jany
issue relating to the operations of the Company as to which they
cannot agree. Either Member may refer an issue to arbitration after
it shall have given written notice to the other that the issue will
be submitted to arbitration unless the issue has been resolved within
a period of not less than ten (10) days from the date of the notice.
Except in cases where the issue to be resolved involves a transaction
with an affiliate of Straight A, or the interpretation of the,
Operating Agreement, or a matter within the competence of LA as set
forth in Section 6.07(b), until the earlier of (x) Straight Aj shall
have received cumulative net distributions, loan repayments and
releases of collateral aggregating $500,000, or (y) either Straight A
or LA has given a notice of withdrawal or the Company has dissolved,
the sole arbitrator shall be Myer Alperin. When Myer Alperin, is not
the arbitrator, the arbitrator shall be any person acceptable to both
Members, provided, that if the Members are unable to agree on an
arbitrator within ten (10) days after the need for such agreement

shall have arisen, the arbitrator shall be selected in accordance

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with the rules of the American Arbitration Association.

13.16. Integration. There are no other agreements or
understandings relating to the operation of the Company that are not
expressed in this written Operating Agreement and, to that extent,
this Agreement embodies the entire understanding of the parties and

supersedes all prior arrangements. 5

CERTIFICATE i
The undersigned hereby agree, acknowledge, and certify that the
foregoing Operating Agreement, consisting of 52 pages and Exhibit
"A", constitutes the Operating Agreement of Concorde Apparel Company,
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L.L.C. adopted by the Members of the Company as of August 25} 1994.

STRAIGHT A COMPANY, ‘iA
LIMITED PARTNERSHIP

ATTEST: ; BY: ALL-STAR INDUSTRIES,
INC., ITS CORPORATE! GENERAL
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Janes Le Algerin a E. Alper{in
Secretary Presid

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S vret Wattenberg, President

   

ATTEST:

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EXHIBIT “A”

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Administration

Warehouse and
Administration

Production Travel/
Entertainment

Sales and Sourcing, Shipping Purchasing and Corporate Expenses
Marketing Expenses and Administrative Production and Responsi ilities
and Responsibilities Expenses and Expenses and

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Merchandising Accounting and Design Royalties |
Bookkeeping i
Styling MIS and Update Q.C. Factoring
Sales and Marketing Credit and Charge- Patternmaking Finance
back Management
Trade Shows Invoicing Markers Insurance Liability,
Credit
Showroom Expenses Customer Service Piecegoods Professional Fees
Travel Packing and Shipping Trim/Labels Corporate Supplies/
Materials Non-Shipping
Front End Picking and Packing Ticket Making Communications (Tie
Depreciation Lines)
Sales Commission Order Purchasing Cutting Freight Out
Selling and Ref Allocation Freight In Profit
Swatches
Sample Expense All B/E Forms Pressing Taxes i
Salaries and Benefits Back Office Production

 

Office Expense
Depreciation

Contract Sewing
